
650 So.2d 1166 (1995)
Sheila Christine GASPARD
v.
NORTHFIELD INSURANCE COMPANY, Sonnier Properties, Ltd., and Sonnier Electric Company of Lake Charles.
Gary Wayne GASPARD
v.
NORTHFIELD INSURANCE COMPANY, Sonnier Properties, Ltd., and Sonnier Electric Company of Lake Charles.
No. 94-C-2906.
Supreme Court of Louisiana.
February 9, 1995.
Denied.
CALOGERO, C.J., would grant the writ and DENNIS and WATSON, JJ., would grant the writ.
LEMMON, J., not on panel.
